               Case 4:04-cr-40039-JPG                    Document 346 Filed 12/09/05                       Page 1 of 6        Page ID
                                                                   #612
% A 0 245B    (Rev. 06/05) Judgment in a Criminal Case
              Sheet I




                       SOUTHERN                                   District of                                   ILLINOIS

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                    GARY D. BROWN
                                                                          Case Number:           4:04CR40039-004-JPG

                                                                          USM Number: 06315-025
                                                                           Robert 0 . Crego
                                                                          Defendant's Attorney
THE DEFENDANT:
upleaded guilty to count(s)           1 and 3 of the 2nd Superseding Indictment.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count


                                    Distribute & Distribution of 500 Grams Containing Meth
 21 U.S.C. 841(a)(l)                Possession with Intent to Distribute Cocaine                             '511 4/2002                 3s

       The defendant is sentenced as provided in pages 2 through              9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is        are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da s of any change of name, residen
                                                                                                               i'
or mailin address unti1.all fines, restitution,.costs, and special assessments imposed by this judgment are fu ly paid. If ordered to pay restltutio
the defensant must notify the court and Unrted States attorney of materlal changes m economlc circumstances.




                                                                                   W/d!w
                                                                          Date of Imposition of Jud ment




                                                                           J. Phil Gilbert, District Judge
                                                                          Namepf Judgc                                Title of Judge
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A 0 2458      (Rev. 06105) Judgment in Cr~minalCase
              Sheet 2 - Imprisonment
                                                                                                        Judgment-   Page   2     of      9
 DEFENDANT: GARY D. BROWN
 C A S E N U M B E R : 4:04CR40039-004-JPG


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  1 8 8 months on Counts 1 & 3 of t h e Superseding Indictment. All Counts to run concurrent with e a c h other a n d concurrent to
  t h e undischarged term of imprisonment in case number 2002-CF-88 in Circuit Court of Franklin County, IL. T h e Court
  CREDITS t h e defendant with 2 3 months against t h e pronounced s e n t e n c e on a related s t a t e c a s e pursuant to U.S.S.G.5G1.3
  (b). Therefore t h e defendant shall SERVE THE REMAINING TERM O F 1 6 5 MONTHS.
           The court makes the following recommendations to the Bureau of Prisons:

  That t h e defendant b e placed in t h e Intensive Drug Treatment Program.



     @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.     17 p.m.      on
                as notified by the United States Marshal.

     17 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

at                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page      3     of          9
 DEFENDANT: GARY D. BROWN
 CASE NUMBER: 4:04CR40039-004-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  4 years. (4 years on Count 1 and 3 years on Count 3. All Counts to run concurrent with each other).



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pr~sons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suimit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 [id The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 [id The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o/payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessiye use of alcohol and shall not purchase, possess, use, djstribute, or admjnister any
           controlled substance or any paraphemaha related to any controlled substances, except as prescribed by a physlclan;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do so by the protation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed In plaln vlew of the probatlon officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
           as directed by the robation officer, the defendant shall notifythird parties of risks that may be occasioned by fhe defendant's crimin
           record or           history or character~st~cs and shall permlt the probatlon officer to make such notlficat~onsand to confirm th
           defendant s compliance wlth such notification requirement.
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A 0 245B   (Rev 06/05) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
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DEFENDANT: GARY D. BROWN
CASE NUMBER: 4:04CR40039-004-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
   The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

   The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. the defendant is advised that the probation office may share financial
 information with the financial litigation Unit.

   The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. the defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

   The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

   The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.
               Case 4:04-cr-40039-JPG                  Document 346 Filed 12/09/05                        Page 5 of 6           Page ID
A 0 2458   (Rev. 06/05) Judgment in a Criminal Case
                                                                 #616
                                                                                                      Judgment-   Page      5      of     9
 DEFENDANT: GARY D. BROWN
 CASE NUMBER: 4:04CR40039-004-.IPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                         -
                                                                        Fine                                  Restitution
 TOTALS            $ 200.00                                          $ 500.00                               $ 0.00



     The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case ( A 0 245C) will be enter
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise
     the priority order or percentage payment columngelow. However, pursuant to 18 Qs.8. 5 3 6 6 4 6 , all nonfederal victims must be p
     before the United States is pa~d.




TOTALS                                $                      0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
   @ the interest requirement is waived for the @ fine               restitution.
           the interest requirement for the           fine          restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or aft
 September 13, 1994, but before April 23, 199%.
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A 0 245B    (Rev. 06105) Judgment in a Criminal Case
            Sheet 6 - schedule of Payments
                                                                  #617
                                                                                                         Judgment-   Page     6     of        9
 DEFENDANT: GARY D. BROWlV
 CASE NUMBER: 4:04CR40039-004-JPG


                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @f Lump sum payment of $                               due immediately, balance due

                  not later than                                 , Or
                  in accordance                 C,      D,         E, or    @fF below; or
 B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

 C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     Qf   Special instructions regarding the payment of criminal monetary penalties:
             While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
             of his net monthly income, whichever is greater.




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonrnent,gaxment ofcriminal monetaq penalties is due durin
 imprisompt. All CriminaYmoneta penalties, except those payments made throug t e Federal Bureau of Prisons' Inmate Financi
 Responsibility Program, are made to x e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
                                                        1
 (5) fine interest, (6) community restitution, (7) pena tles, and (8) costs, including cost of prosecution and court costs.
